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               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA


                                    )
United States                       )
                                    )
                v.                  )             NO. 1:21cr140
                                    )
Larry Brock                         )
                                    )
                                    )
          Defendant.                )

    MOTION TO TREAT REQUEST FOR RELEASE PENDING APPEAL AS
      UNCONTESTED AND SUPPLEMENT TO ORIGINAL MOTION


     Comes now the defendant Larry Brock and requests that the Court treat his

previously filed motion for release pending appeal (ECF 101) as uncontested. Mr. Brock

also offers supplementary information in support of his request for release pending

appeal.

                                    ARGUMENT

     I.      Mr. Brock’s Motion for Release Pending Appeal Should be Treated as
              Uncontested

     On March 6, Mr. Brock reached out to the government by email to seek its

agreement for release pending appeal. The government indicated on March 7 that it

opposed.

     On March 28 Mr. Brock filed a motion for release pending appeal. ECF 101.

Under local Rule 47(b) the government was required to respond within 14 days which

was April 11. The government has not responded or requested more time to respond

from counsel or the Court. Under the rule, the Court may therefore “treat the motion as

conceded.” Mr. Brock therefore requests the Court to grant his motion as conceded under
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the local rule.

      Mr. Brock’s current reporting date is April 25, 2023.

      II.   The Recent Decision from the Court of Appeals Supports Mr. Brock’s
             Request

      Mr. Brock’s request for release pending appeal was based in part on the pending §

1512(c) (obstruction of official proceeding) case in the Court of Appeals. The Court

issued its decision on April 7. United States v. Fischer, 22-3038 (D.C. Cir. 2023).

Although the panel reversed this Court’s dismissal of the § 1512 count, one member of

the panel dissented and the concurring member would have given the § 1512 mens rea an

interpretation at odds with that applied by this Court in the January 6th cases including

Mr. Brock’s. The case is most likely headed for en banc review.

      The fractured Fischer decision emphasizes that the continuing validity of Mr.

Brock’s § 1512(c) conviction remains open to debate. It adds additional support to Mr.

Brock’s request for relief pending appeal.

                                    CONCLUSION

      For the foregoing reasons, Mr. Brock requests that this Court grant his Motion for

Release Pending Appeal.
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                                              Respectfully Submitted,

                                              By:

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                     CERTIFICATE OF SERVICE

 I have served this filing on the government through the ecf system.
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                                     Respectfully Submitted,



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